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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI

CNS INTERNATIONAL MINISTRIES, INC.,                       )
a Missouri Not-for-Profit Corporation, a/k/a              )
“Heartland,” on behalf of itself and its members,         )
                                                          )
               Plaintiff,                                 )
                                                          )
v.                                                        )   Case No.
                                                          )
JENNIFER TIDBALL, in her individual capacity              )
and official capacity as Acting Director of the           )
Missouri Department of Social Services,                   )
                                                          )
               Defendant.                                 )

                                          COMPLAINT

        Plaintiff CNS International Ministries, Inc. (“CNSIMI” or “Heartland”), for its complaint

against Jennifer Tidball, in her individual capacity and official capacity as Acting Director of the

Missouri Department of Social Services, states as follows.

                                          Nature of Case

        1.     In this action, Heartland seeks declaratory and injunctive relief against

implementation and enforcement of portions of a new Missouri statute (House Bills 557 and 560)

and enabling regulations issued by Missouri’s Department of Social Services. The statute and

enabling regulations make requirements, employ procedures, and threaten penalties that are

thoroughly contrary to clearly established law under the United States Constitution, and in some

instances they require Heartland to violate settled federal statutory requirements guaranteeing

privacy to individuals in drug and alcohol recovery programs.

        2.     This is not the first time that Heartland has been forced to seek refuge in federal

court from an unconstitutional assault by Missouri officials. In 2004, Judge E. Richard Webber

ruled that removal of a child from Heartland is unconstitutional without first providing notice
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and a hearing unless there is reasonable cause to believe that such a particular child being

removed is “in imminent danger of suffering serious physical harm, threat to life from abuse or

neglect, or has been sexually abused or is in imminent danger of sexual abuse.” Heartland

Academy Community Church v. Waddle, 317 F. Supp. 2d 984, 1111 (E.D. Mo. 2004), aff’d,

Heartland Academy Community Church v. Waddle, 427 F.3d 525 (8th Cir. 2005). The Court of

Appeals further agreed with Judge Webber that Heartland’s expressive association rights could

not be disturbed absent compliance by government authorities with strict scrutiny—that they can

impair such rights only if they bear the burden of demonstrating that they are using the narrowest

means of achieving a compelling government interest. 427 F.3d at 535. Governmental authorities

in 2004 and 2005 failed these constitutional tests, and they fail them again today.

                                               Parties

       3.      Plaintiff CNS International Ministries, Inc. (“CNSIMI” or “Heartland”), is a

Missouri not-for-profit corporation in good standing, located in the Eastern District of Missouri.

It sues in its own right and, as an association, has standing to bring suit on behalf of its members,

which it does here, because: (1) its members would otherwise have standing to sue in their own

right; (2) the interests it seeks to protect are germane to the Heartland’s purpose; and (3) neither

the claims asserted nor the relief requested requires the participation in the lawsuit of each of the

individual members.

       4.      CNSIMI is exempt from Federal income tax under section 501(a) of the Internal

Revenue Code as an organization described in § 501(c)(3).

       5.      Defendant Jennifer Tidball is, and at all times relevant hereto was, Acting

Director of the Missouri Department of Social Services. She is sued in her individual and official

capacities.




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                                       Jurisdiction and Venue

        6.       Jurisdiction is conferred on the Court, for the resolution of the federal and

constitutional questions presented, by 28 U.S.C. §§ 1331 and 1343. Redress for federal

constitutional violations is sought pursuant to 42 U.S.C. § 1983.

        7.       The jurisdiction of the Court to grant declaratory and injunctive relief is conferred

by 28 U.S.C. §§ 2201 and 2202, Rules Rule 57 and 65, Fed. R. Civ. P., and the general legal and

equitable powers of this Court.

        8.       Venue is correct in this district under 28 U.S.C. § 1391(b) because a substantial

part of the events or omissions giving rise to Plaintiff’s claims have arisen or will arise in this

judicial district.

                                   Facts Pertaining to All Counts

                                   A. An Intentional Community

        9.       Heartland consists of, among other things, Heartland Children and Youth Home

(consisting of a girls’ recovery program and a boys’ recovery program), Heartland Women’s

Recovery Program and Heartland Men’s Recovery Program. These are programs for troubled

people. There is a K-12 school, attended by those in the boys’ and girls’ programs as well as

children of staff and from the community at large. There is also an accredited two-year college

operating on the Heartland campus known as “Heartland Christian College.”

        10.      In addition to tending to their studies, it is common for boys and girls, who are old

enough, to engage in part-time work in operations run by Heartland’s affiliates.

        11.      There are currently five children in the boys’ and girls’ programs at Heartland—

four boys and one girl.

        12.      Heartland’s recovery programs, which have been continuously operating since the




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mid-1990s, seek to introduce the concepts of Christian living and personal responsibility, helping

men and women and boys and girls who are bound with life-controlling addictions, attitudes, and

behavioral problems.

       13.     The Heartland Men’s Recovery Center houses men of all ages and from all over

the United States.

       14.     Men who enroll in the 12-month program find themselves in an environment far

removed from the temptations of the world, combined with the disciplines of hard work and a

focus on Jesus Christ. They reside in a part of Heartland’s sprawling campus that is in Knox

County, separated by a lake from the remainder of the residents—children, women, and college

students—who reside in Shelby County.

       15.     Men in the Recovery Program participate in daily devotions, chapel, and all

weekly Heartland church services.

       16.     In the Heartland Women’s Recovery Program, women live in a home-like

environment while focusing on their relationship with Jesus Christ. They are trained in areas

such as vocation, work ethic, child-rearing, and financial stewardship.

       17.     Women in the Women’s Home have a daily devotional time together and attend

all weekly Heartland church services.

       18.     The women participate in preparation of meals and daily chores to maintain and

clean their home.

       19.     Because of the nature of addiction and recovery, many individuals in these

programs have criminal convictions or guilty pleas in their past, often involving drug-related

offenses.

       20.     Heartland is an intentional community, which is one that is built around a specific




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interest or goal (similar in that respect to a golfing community, a retirement community, or an

artist colony).

        21.       Heartland’s goal happens to be the belief that Jesus is the answer to every issue

individuals face—including addiction, anger, broken homes, and financial crises.

        22.       Men and women who commit themselves to the process of restoration find help at

Heartland through the power of God and the encouragement of people who have walked a

similar path.

        23.       Heartland’s vision is a Jesus-centered, sustainable, intentional community of hope

for the hurting built around a vibrant local church, cultivating individual, family, community,

and global transformation through the power of the gospel.

        24.       The church, Heartland Community Church, is at the heart of the community.

        25.       CNSIMI believes that a church is the spiritual family of God, the Christian

fellowship created by the Holy Spirit through the mighty acts of God in Christ Jesus.

        26.       The “church” is more about life together (being a living community, which is

lived out on a daily basis) in these local bodies, than it is about just a group of people having a

meeting together. Therefore, the church is not just a building or a meeting, it is a living

community of believers that are together in a particular location.

        27.       Heartland believes that the church is the foundation of its community and that

everything it does should have the church as its central purpose.

        28.       The church’s tenets of faith include:

                  a. The Church as the Body of Christ, being seen visibly in distinct local

                     fellowships, is God’s chosen instrument to manifest the knowledge of His

                     glory throughout the earth.




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               b. Jesus Christ, upon ascending to the Father, commissioned all believers to take

                   the Gospel to the ends of the earth. It is both the duty and privilege of

                   believers to proclaim the Gospel, make disciples, and build the Church with

                   people from all the nations.

       29.     Heartland believes that making disciples is a community effort.

       30.     Discipleship involves teaching, training and accountability.

       31.     Heartland recognizes that in the early days of the Church, shortly after Jesus

Christ was raised from the dead, those who believed in Him devoted themselves to meeting

together every day “in the temple and from house to house.” During this time, they shared meals,

praised God, and cared for each other. They also listened to teaching and welcomed new

believers into their friendships. They enjoyed life together.

       32.     Heartland’s recovery programs are about transformation, redemption, and

restoration.

       33.     To understand how to live healthy and productive lives, individuals need to walk

alongside and interact with other imperfect people who are living healthy and productive lives.

       34.     Heartland exists to provide all its residents with an opportunity to be an active

part and active participant.

       35.     For these reasons, individuals in all the recovery programs attend church services

and work jobs at Heartland, often volunteer jobs, just as others in the community do.

       36.     Plaintiff is an association for social, economic, educational, religious, and cultural

purpose, and is thus entitled to protection absent a showing by Defendant of a compelling state

interest that cannot be achieved through less restrictive means. Roberts v. Jaycees, 468 U.S. 609,

623 (1984).




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                              B. Heartland is a Safe Community.

        37.     To Heartland’s knowledge, there is no listing in Missouri’s Central Registry for

Abuse and Neglect that has resulted from any incident between an adult and a child in the boys’

or girl’s recovery program in the past 20 years, and no felony or misdemeanor convictions

resulting from such interactions in the entire history of Heartland, going back to its beginning in

the mid-1990s. Children in the Heartland Children and Youth Home are supervised by carefully

vetted staff.

                                 C. House Bill Nos. 557 and 560

        38.     Missouri House Bills 557 and 560 took effect on July 14, 2021.

        39.     Those bills involved an act “[t]o amend chapter 210, RSMo, by adding thereto

sixteen new sections relating to the protection of children, with penalty provisions and an

emergency clause.”

        40.     DSS regulations, which went into effect on October 1, 2021, govern “LERCFs,”

defined as:

    “License-Exempt Residential Care Facility” or “LERCF” means any place, facility, or home
    operated by any person who receives children who are not related to the operator and whose
    parent or guardian is not a resident of the same facility and that provides such children with
    supervision, care, lodging and maintenance for twenty-four hours a day, with or without
    transfer of custody; and that is not required to be licensed under section 210.516 RSMo.
    Unless exempted as provided below, LERCFs include, but are not limited to, boarding
    schools, juvenile detention facilities, license-exempt foster homes as defined in section
    210.516, RSMo, and other congregate care facilities.

13 CSR 35-71.015(1)(F).

        41.     Heartland, because of its boarding school, is an LERCF.

        42.     The new regulations contain various background check and disclosure provisions

for LERCFs, described below.




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                            1. Compelled Notification Procedures

       43.    By October 12, 2021, three months after the effective date of the new laws and a

mere eleven days after the emergency regulations became effective, Heartland is required by the

new law to make the following notifications to the Department of Social Services, Children’s

Division:

              1. The LERCF shall list its full name, street address, mailing addresses, e-mail
              address, and phone number. The mailing address and e-mail addresses shall be the
              addresses of record of the LERCF and all official correspondence to the LERCF
              will be sent to the mailing or e-mail address on record.

              2. The LERCF shall identify the name of the director, owner, operator, all staff
              members, volunteers, and any individual eighteen years of age or older who
              resides at or on the property of the LERCF. The LERCF shall provide the name,
              street address, physical and electronic mailing addresses, and phone number of
              the director or director’s designee who will serve as the point of contact between
              the division and the LERCF.

              3. The LERCF shall provide a full description of the agency or organization
              operating the LERCF, including a statement as to whether the agency or
              organization is incorporated.

                  A. The description of the agency or organization shall specify the type of
                  agency or organization.

                  B. If the agency or organization is incorporated then the LERCF shall provide
                  the state in which the LERCF was incorporated in and the corporate name of
                  the LERCF.

              4. The LERCF shall identify the name and address of the sponsoring organization
              of the residential care facility, if applicable.

              5. The LERCF shall identify the school or schools attended by the children served
              by the residential care facility. The LERCF shall list the name and address of each
              school.

              6. Fire and safety inspection certificates.

                  ...

              7. Local health department inspection certificates.




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                  ...

              8. Proof that medical records are maintained for each child.

                  A. The division will accept a written attestation, made under oath, subject to
                  penalty of perjury, and executed by the director of the LERCF, that the
                  LERCF actually maintains medical records for each child served by the
                  LERCF according to the written policy of the LERCF, which shall be attached
                  to the attestation.

                  B. The LERCF shall provide the division access to the facility upon request to
                  inspect the medical records maintained by the LERCF on the children served
                  by the LERCF in order to verify that the medical records are being kept. The
                  division will request access to this information only when the division has
                  reasonable basis to believe that the LERCF is not maintaining records for any
                  child as required by law.

              9. Background Check completion/eligibility. The director of the LERCF, or his or
              her authorized designee, shall certify, under oath subject to the penalties of
              perjury that all individuals who are required to complete a background check have
              successfully completed the background checks and have been found eligible for
              employment or presence at the LERCF pursuant to section 210.493, RSMo and 13
              CSR 35-71.015.

                  A. Phase in period for LERCFs in operation as of July 14, 2021. For all
                  original notifications submitted by LERCFs which were both in operation and
                  had children in its facility as of July 14, 2021, the division will accept a
                  written certification from the director of the LERCF that all individuals who
                  are required to submit to a back- ground check pursuant to section 210.493
                  RSMo, and 13 CSR 35- 71.015 either have completed the background check
                  requirements or will have successfully completed the background check by
                  December 31, 2021. Upon completion of this process the director or the direc-
                  tor’s designee shall provide written or electronic notice to the division
                  certifying that the background check process for these individuals has been
                  successfully completed. The division may extend this period for up to an
                  additional one hundred twenty (120) days if the LERCF establishes, in
                  writing, that it is unable to successfully complete the process by the deadline.

13 CSR 35-71.300(4)(5)(D)(1)-(9).

       44.    According to 13 CSR 35-71.300(4)(5)(D)(2) and § 210.1264, RSMo, Heartland

must notify the State of anyone who lives at Heartland, including those in drug and alcohol

recovery programs.




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       45.     Violation of these notification requirements are punished by, inter alia,

“injunctive relief to cease the operation of the residential care facility and provide for the

appropriate removal of the children from the residential care facility . . .” Section 210.1271(1),

RSMo. There is no requirement in § 210.1271(1) that notice and a hearing to Heartland or its

member precede such injunctive relief. See also § 210.1268, RSMo.

                                2. Required Background Checks

       46.     Background checks are required by December 31, 2021 for:

   Officers, managers, contractors, volunteers with access to children, employees, and other
   support staff of residential care facilities subject to the notification requirements under
   sections 210.1250 to 210.1286; any person eighteen years of age or older who resides at or
   on the property of such residential care facility; any person who has unsupervised contact
   with a resident of such residential care facility; and owners of such residential care facilities
   who will have access to the facilities shall undergo background checks under section
   210.493.

§ 210.1263, RSMo; § 210.493, RSMo; 13 CSR 35-71.015(F). Background checks are also

required for those who apply for a position at the facility that is required to undergo background

checks. 13 CSR 35-71.015(1)(A).

       47.     As the Children’s Division is privy to the background checks (§ 210.493, RSMo),

the checks also amount to compelled disclosure of the identities of everyone who undergoes a

background check.

       48.     The background checks are required for persons regardless of whether they

typically (or ever) have contact with children at the facility. Checks are required for “support

staff,” for instance, which includes “include any individual who works for or performs services,

including professional services, for the LERCF . . .” 13 CSR 35-71.015. This would include

lawyers and accountants, who may (and do) work hundreds of miles away from Heartland.




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       49.     Background checks include:

               (1) A Federal Bureau of Investigation fingerprint check;

               (2) A search of the National Crime Information Center’s National Sex Offender
               Registry; and

               (3) A search of the following registries, repositories, or databases in Missouri, the
               state where the applicant resides, and each state where such applicant resided
               during the preceding five years:

                   (a) The state criminal registry or repository, with the use of fingerprints being
                   required in the state where the applicant resides and optional in other states;
                   (b) The state sex offender registry or repository;
                   (c) The state family care safety registry; and
                   (d) The state-based child abuse and neglect registry and database.

§ 210.493(3), RSMo.

       50.     Failure to successfully complete a background check renders an individual

“ineligible for employment or service” at the facility. 13 CSR 35-71.015 (4)(A); Cf. §

210.493.10, RSMo.

       51.     Section 210.1283, RSMo also makes it a class B misdemeanor to knowingly fail

to complete a background check as required under § 210.493, RSMo. In other words, it

criminalizes individuals for not waiving their privacy rights.

       52.     The results of the background checks determine whether the applicant can remain

at the facility. An individual is “ineligible” for employment or presence at the facility if he or

she:

       (1) Refuses to consent to the background check as required by this section;

       (2) Knowingly makes a materially false statement in connection with the background
           check as required by this section;

       (3) Is registered, or is required to be registered, on a state sex offender registry or
           repository or the National Sex Offender Registry;

       (4) Is listed as a perpetrator of child abuse or neglect under sections 210.109 to 210.183



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             or any other finding of child abuse or neglect based on any other state's registry or
             database; or

       (5) Has pled guilty or nolo contendere to or been found guilty of:

             (a) Any felony for an offense against the person as defined in chapter 565;
             (b) Any other offense against the person involving the endangerment of a child as
                 prescribed by law;
             (c) Any misdemeanor or felony for a sexual offense as defined in chapter 566;
             (d) Any misdemeanor or felony for an offense against the family as defined in chapter
                 568;
             (e) Burglary in the first degree as defined in section 569.160;
             (f) Any misdemeanor or felony for robbery as defined in chapter 570;
             (g) Any misdemeanor or felony for pornography or related offense as defined in
                 chapter 573;
             (h) Any felony for arson as defined in chapter 569;
             (i) Any felony for armed criminal action as defined in section 571.015, unlawful use
                 of a weapon as defined in section 571.030, unlawful possession of a firearm as
                 defined in section 571.070, or the unlawful possession of an explosive as defined
                 in section 571.072;
             (j) Any felony for making a terrorist threat as defined in section 574.115, 574.120, or
                 574.125;
             (k) A felony drug-related offense committed during the preceding five years; or
             (l) Any similar offense in any federal, state, or other court of similar jurisdiction of
                 which the department has knowledge.

§ 210.493, RSMo.

       53.      Again, these individuals are ineligible to remain at Heartland regardless of

whether they have any contact with children and in many cases regardless of whether their

criminal offenses have anything to do with children.

       54.      These individuals are ineligible to remain at Heartland even if their names have

been placed on a central registry merely on the basis of probable cause or reasonable suspicion,

regardless of whether they obtained a due process hearing, and regardless of whether they had de

novo appeal rights in a court of law, all of which is contrary to the 14th Amendment to the U.S.

Constitution. Jamison v. Dept. of Soc. Servs., 218 S.W.3d 399 (Mo. 2007). Given that those with

“felony drug-related offense(s) committed during the preceding five years” are ineligible, the




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background check and eligibility requirements threaten the viability of Heartland’s recovery

programs.

                                     3. A Lack of Due Process

                                   a. Claims of Abuse or Neglect

        55.     Section 210.143 addresses claims by the Children’s Division of child abuse or

neglect at LERCFs.

        56.     The process is for “the children’s division,” “law enforcement,” or a “prosecuting

or circuit attorney” to petition the circuit court for an order directing a facility which is the

subject of an investigation of child abuse or neglect “to present the child at a place and time

designated by the court to a children’s division worker for an assessment of the child’s health,

safety, and well-being.” § 210.143, RSMo.

        57.     The new law states that the court shall enter such an order if:

                (1) The court determines that there is reasonable cause to believe that the child
                has been abused or neglected and the residential care facility does not voluntarily
                provide access to the child;

                (2) The assessment is reasonably necessary for the completion of an investigation
                or the collection of evidence; and

                (3) Doing so is in the best interest of the child.

210.143(1), RSMo.

        58.     The child can then be held for “assessment” for up to 72 hours. § 210.143(3),

RSMo.

        59.     The provisions contain no due process provisions for the child, the facility or the

parents prior to the 72-hour removal.

        60.     If the child is held for assessment for more than 72 hours, there must be “a

hearing with attempted notice to the facility and to the parents or guardian and with due process



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for all parties.” § 210.143(3), RSMo (emphasis added). Only “attempted” notice is required,

despite the fact that the statutory scheme gives the Children’s Division contact information for

virtually all leadership personnel at a facility, and despite the fact that the Children’s Division

knows how and where to serve Heartland and its agents anyway.

        61.     If the court enters an order to produce the child, the court may expand the order to

produce other children in the care of the residential care facility if the court finds there is

reasonable cause to believe that such children may have been abused or neglected. § 210.143(4),

RSMo.

        62.     The new regulations contemplate mass removals of students based on only a

“reasonable belief” standard:

    The petition and order may be made on an ex parte basis if it is reasonable to believe that
    providing notice may place the child at risk for further abuse or neglect, if it is reasonable to
    believe that providing notice may cause the child to be removed from the state of Missouri or
    the jurisdiction of the court, or if it is reasonable to believe that evidence relevant to the
    investigation will be unavailable if the ex parte order is not entered.

210.143(5), RSMo.

        63.     Once a facility is served with “a subpoena, petition, or order,” there are some

limited attempts to provide due process protections:

    Any person served with a subpoena, petition, or order under this section shall not be required
    to file an answer, but may file a motion for a protective order or other appropriate relief. The
    motion shall be filed at or before the time for production or disclosure set out in the subpoena
    or order. The motion shall be in writing, but it may be informal and no particular form shall
    be required. The clerk shall serve a copy of the motion on the director of the children's
    division and any agency who applied for the order. The court shall expedite a hearing on the
    motion and shall issue its decision no later than one business day after the date the motion is
    filed. The court may review the motion in camera and stay implementation of the order once
    for up to three days. The in camera review shall be conducted on the record, but steps shall
    be taken to protect the identity of the child. Any information that may reveal the identity of a
    hotline reporter shall not be disclosed to anyone in any proceeding under this subsection
    unless otherwise allowed by law.

210.143.6., RSMo.



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       64.     However, it is unclear under what circumstances a facility would be served with

“a subpoena, petition, or order,” given that ex parte applications are allowed.

                               b. Background Check Ineligibility

       65.     If an individual is rendered “ineligible” to be present at an LERCF because of

information revealed in a background check, there is only limited process for review and limited

information provided to the facility.

       66.     The facility is not told what in a background check renders an individual

ineligible: “The department shall not reveal to the residential care facility or the child placing

agency any disqualifying offense or other related information regarding the applicant.”

§210.493(9), RSMo.

       67.     It is unclear how a person or facility like Heartland is supposed to review an

ineligibility finding if they do not know the reasons behind the finding.

       68.     13 CSR 35-71.015(12)(B) explains the administrative review process, noting:

               a) The Administrative Review shall be conducted and decided based upon the
                  written materials submitted to the division and any information and materials
                  presented at a review conference. The division will provide an in-person
                  conference upon written request.
               b) The review conference may take place by telephone conference call, video
                  conference or in-person meeting.
               c) The Administrative Review process shall be informal. The rules of evidence
                  shall not apply. There is no right to conduct discovery. There shall be no
                  right to compel the production of witnesses or evidence by subpoena or
                  otherwise.
               d) The Administrative Review shall be conducted by an individual designated by
                  the Director of the Department or the division, who may be an employee of
                  the division or the Department. However, the individual shall not have been
                  involved in making the decision which is subject to review.
               e) The individual conducting the Administrative Review shall conduct the
                  administrative review and render a written decision no later than thirty (30)
                  days from the date that the division received the request for administrative
                  review.
               f) The decision upon Administrative Review shall be the final decision of the
                  Department as to any person that is not an applicant.



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Emphasis added.

       69.     The facility therefore gets nothing in the way of a real due process hearing. There

is no discovery, no compelling of appearance witnesses and, apparently, no testimony under

oath. Nor are rules of evidence utilized.

       70.     The facility can appeal. This entails an Administrative Review before the

Administrative Hearings Unit of the Division of Legal Services of the Department of Social

Services. 13 CSR 35-71.015(12)(C).

       71.     Here, again, there are severe limitation on due process:

   The hearing is and shall not be not an opportunity to collaterally attack or re-litigate the
   validity of the underlying plea of guilt, plea of nolo contendere, or the underlying
   finding of child abuse, neglect or maltreatment by the applicable state or local agency, or
   the accuracy of information in the federal, state or local registry or repository.

13 CSR 35-71.015(12)(C)(8) (emphasis added).

       72.     In the appeal, the hearings are “informal, but they shall be held on the record and

testimony will be adduced under oath. The rules of evidence do not apply. The applicant may

be represented by an attorney.” 13 CSR 35-71.015(12)(C)(6) (emphasis added).

       73.     Finally, there is limited judicial review.

   1. Any applicant aggrieved by the final decision of the Department after appeal may seek
   judicial review as provided in section 536.150 RSMo.

   2. Any person who is not an applicant who is aggrieved by the final decision of the
   Department after Administrative Review may seek judicial review as provided in section
   536.150, RSMo.

13 CSR 35-71.015(12)(D).

        74.    The judicial review involved is not de novo, but is described as follows:

   When any administrative officer or body existing under the constitution or by statute or by
   municipal charter or ordinance shall have rendered a decision which is not subject to
   administrative review, determining the legal rights, duties or privileges of any person,



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   including the denial or revocation of a license, and there is no other provision for judicial
   inquiry into or review of such decision, such decision may be reviewed by suit for injunction,
   certiorari, mandamus, prohibition or other appropriate action, and in any such review
   proceeding the court may determine the facts relevant to the question whether such person at
   the time of such decision was subject to such legal duty, or had such right, or was entitled to
   such privilege, and may hear such evidence on such question as may be properly adduced,
   and the court may determine whether such decision, in view of the facts as they appear to the
   court, is unconstitutional, unlawful, unreasonable, arbitrary, or capricious or involves an
   abuse of discretion; and the court shall render judgment accordingly, and may order the
   administrative officer or body to take such further action as it may be proper to require; but
   the court shall not substitute its discretion for discretion legally vested in such administrative
   officer or body, and in cases where the granting or withholding of a privilege is committed
   by law to the sole discretion of such administrative officer or body, such discretion lawfully
   exercised shall not be disturbed.

536.150, RSMo.

       75.     Absent declaratory and injunctive relief against application and enforcement of

the offending portions of HB557 and 560, along with enabling regulations, Plaintiff will suffer

irreparable harm.

       76.     There is no adequate remedy at law, as monetary damages could not possibly

compensate Plaintiff for the damage the new law threatens to do to Plaintiff’s association.

                                            COUNT I

                       VIOLATION OF FEDERAL PRIVACY LAWS

       77.     Plaintiff repeats and re-alleges each of the foregoing allegations in this Complaint.

       78.     CNSIMI, a Missouri nonprofit corporation with more than fifty employees,

provides full-time residential services to men, women, and children with behavioral problems or

who suffer from alcohol or drug dependencies, and it operates a school that serves the children of

individuals in its Recovery Program, as well as its employees’ children.

       79.     Pursuant to 42 U.S.C. § 290dd-2 and 42 U.S.C. § 290ee-3, CNSIMI is required to

observe strict confidentiality regarding any patient identifying records of those in the drug and

alcohol recovery programs it administers.



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        80.     Pursuant to 42 CFR § 2.11, CNSIMI is a program which holds itself out as

providing and does provide alcohol or drug abuse diagnosis, treatment or referral for treatment.

        81.     Pursuant to 42 CFR § 2.12(b)(4), CNSIMI is the recipient of Federal assistance

because it is assisted by the Internal Revenue Service of the Department of the Treasury through

the allowance of income tax deductions for contributions to the program or through the granting

of tax-exempt status to the program.

        82.     As such, pursuant to 42 CFR § 2.13(2), these regulations restrict the disclosure of

alcohol or drug abuse patient records. In addition, 42 CFR § 2.12(d)(1)-(2) provides that these

restrictions also apply to any persons who receive patient records from such a program. “Person”

means an individual, partnership, corporation, Federal, State or local government agency, or any

other legal entity.

        83.     The newly-enacted Section 210.1262, part of the Residential Care Facility

Notification Act, states that a facility such as CNSIMI must notify the Department of Social

Services of, inter alia, the “[n]ame of the director, owner, operator, all staff members,

volunteers, and any individual eighteen years of age or older who resides at or on the property of

the residential care facility.”

        84.     This notification must be made by October 12, 2021, three months after the

effective date of the statutes. 210.1259.2 RSMo.

        85.     The Emergency Rules enabling this act were filed on September 17, 2021 and

became effective October 1, 2021.

        86.     Violation of these notification requirements are remedied by, inter alia,

“injunctive relief to cease the operation of the residential care facility and provide for the

appropriate removal of the children from the residential care facility . . .” § 210.1271.1, RSMo.




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       87.     Section 210.493, RSMo, which requires background checks provided to the State

for those at Heartland, would also reveal the identities of those in the Recovery Programs.

       88.     The records sought by the Department of Social Services are confidential under

federal law because they reveal the names of individuals participating in the Recovery Programs.

42 U.S.C. § 290dd-2(b)(2)(a).

       89.     The privacy statute and governing regulations “carry a strong presumption against

disclosing records of this kind. 42 U.S.C. § 290ee-3(a) [now 290dd-2]. The express purpose of

this provision is to encourage patients to seek treatment for substance abuse without fear that by

doing so, their privacy will be compromised.” United States v. Cresta, 825 F.2d 538 (551-52)

(1st Cir. 1987), cert. denied, 486 U.S. 1042 (1988).

       90.     The reason for the privilege is clear – it is “a response to the considerable stigma

long associated with, and still attached to, substance use disorders.” See Confidentiality of

Alcohol and Other Drug Abuse Treatment Information for Emergency Department and Trauma

Center Patients, 20 Health Matrix 387, 388 (2010). “The purpose of the federal statute is to

encourage patients to seek treatment for substance abuse by assuring them that their privacy will

not be compromised.” In re B.S., 659 F.2d 1137, 1139 (Vt. 1995) (citing Whyte v. Connecticut

Mutual Life Ins. Co., 818 F.2d 1005, 1010 (1st Cir. 1987)).

       91.     “Congress felt that ‘the strictest adherence’ to the confidentiality provisions was

needed, lest individuals in need of drug abuse treatment be dissuaded from seeking help.” Ellison

v. Cocke Cty. Tenn, 63 F.3d 467, 471 (6th Cir. 1995); see also U.S. ex. rel Chandler v. Cook

Cty., Ill., 277 F.3d 969, 981 (7th Cir. 2002) (“It is not only the privacy rights of individual

patients that are at stake here, but also the continued effectiveness and viability of important

substance abuse treatment programs . . . Patients will be less willing to seek treatment if patient




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confidentiality is not strictly protected.”).

        92.     Pursuant to 42 CFR § 2.20, “no state law may either authorize or compel any

disclosure prohibited by the regulations in this part.”

        93.     Judge White of this district has found in favor of CNSIMI, pursuant to the federal

rules cited herein, regarding its claims that it cannot reveal the identities of those in its recovery

programs. In re Employment Records of John Does Employed by Sharpe Holdings, 4:17MC238

RLW, 2017 WL 6547738 (E.D. Mo. 2017).

        94.     Absent declaratory and injunctive relief against application and enforcement of

the notification requirements, Plaintiff will suffer irreparable harm. It has no adequate remedy at

law.

                                                COUNT II

                          VIOLATION OF PLAINTIFF’S RIGHT OF
                              EXPRESSIVE ASSOCIATION

        95.     Plaintiff repeats and re-alleges each of the foregoing allegations in this Complaint.

        96.     The First Amendment recognizes and protects the right to freedom of association.

Plaintiff is an association for social, economic, educational, religious, and cultural purpose, and

is thus entitled to protection absent a showing by Defendant of a compelling state interest that

cannot be achieved through less restrictive means. Roberts v. Jaycees, 468 U.S. 609, 623 (1984).

        97.     Christian belief and practice are integral to the identity of the CNSIMI, and

adherence to Christian tenets is a deeply and sincerely integral aspect of Plaintiff.

        98.     The newly-enacted Section 210.1262, part of the Residential Care Facility

Notification Act, states that a facility such as CNSINI must notify the Department of Social

Services of, inter alia, the “[n]ame of the director, owner, operator, all staff members,

volunteers, and any individual eighteen years of age or older who resides at or on the property of



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the residential care facility.”

        99.       This notification must be made by October 12, 2021. § 210.1259.2 RSMo.

        100.      Violation of these notification requirements are punished by, inter alia,

“injunctive relief to cease the operation of the residential care facility and provide for the

appropriate removal of the children from the residential care facility . . .” Section 210.1271.1.

The new statute and enabling regulations do not require that notice and a hearing be provided

prior to such injunctive relief.

        101.      Congress and federal courts have recognized the damage done to associations

when those in their alcohol and drug rehabilitation facilities are denied confidentiality.

“Congress felt that ‘the strictest adherence’ to the confidentiality provisions was needed, lest

individuals in need of drug abuse treatment be dissuaded from seeking help.” Ellison v. Cocke

Cty. Tenn, 63 F.3d 467, 471 (6th Cir. 1995); see also U.S. ex. rel Chandler v. Cook Cty., Ill., 277

F.3d 969, 981 (7th Cir. 2002) (“It is not only the privacy rights of individual patients that are at

stake here, but also the continued effectiveness and viability of important substance abuse

treatment programs . . . Patients will be less willing to seek treatment if patient confidentiality is

not strictly protected.”).

        102.      The implications of the mandated disclosure at issue are immense, as they may

dissuade those in the Recovery Program from continuing, which in turn will jeopardize the

program itself.

        103.      The Department’s background check requirements (and actions that must be taken

upon the information revealed in the check) also threaten CNSIMI’s association rights.

        104.      Background checks are required by December 31, 2021 for:

    Officers, managers, contractors, volunteers with access to children, employees, and other
    support staff of residential care facilities subject to the notification requirements under



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   sections 210.1250 to 210.1286; any person eighteen years of age or older who resides at or
   on the property of such residential care facility; any person who has unsupervised contact
   with a resident of such residential care facility; and owners of such residential care facilities
   who will have access to the facilities shall undergo background checks under section
   210.493.

§ 210.1263 RSMo; 13 CSR 35-71.015(F). Background checks are also required for those who

apply for a position at the facility that is required to undergo background checks. 13 CSR 35-

71.015(1)(A).

       105.     The background checks are required for those regardless of whether they typically

(or ever) have contact with children at the facility. Checks are required for “support staff,” for

instance, which includes “include any individual who works for or performs services, including

professional services, for the LERCF . . .” 13 CSR 35-71.015. This would include lawyers and

accountants, who may (and do) work hundreds of miles away from Heartland.

       106.     Failure to successfully complete a background check renders an individual

“ineligible for employment or service” at the facility. 13 CSR 35-71.015 (4)(A); Cf. §210.493.10

RSMo. Section 210.1283, RSMo also makes it a class B misdemeanor to knowingly fail to

complete a background check as required under section § 210.493, RSMo.

       107.     The results of the background checks determine whether the applicant can remain

at the facility. An individual is “ineligible” if he or she refuses to consent to a background check,

is registered in certain state registries, or has pled guilty to or been convicted of certain crimes,

including, for instance, “felony drug-related offenses.” § 210.493, RSMo.

       108.     Again, these individuals are ineligible to remain at CNSIMI regardless of whether

they have any contact with children and in many cases whether their criminal offenses have

anything to do with children.




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       109.    Given that those with “felony drug-related offense(s) committed during the

preceding five years” are ineligible, the background check and eligibility requirements threaten

the viability of CNSIMI’s Recovery Program.

       110.    Requiring that “support staff”—which includes professional service providers—

undergo background checks also threatens CNSIMI’s ability to operate, as it may be difficult to

find accountants, lawyers and consultants who are willing to submit to FBI background and

fingerprint checks.

       111.    The Supreme Court has given significant protection to individuals who may be

victimized by compelled disclosure of their affiliations. Where government action subjects

persons to harassment and threats of bodily harm, economic reprisal, or “other manifestations of

public hostility,” NAACP v. Alabama, 357 U.S. 449 at 462 (1958), the government must

demonstrate a compelling interest, id. at 463; Bates v. Little Rock, 361 U.S. 516, 524 (1960),

there must be a substantial relationship between the information sought and the compelling state

interest, Gibson v. Fla. Legislative Investigation Comm., 372 U.S. 539, 546 (1963), and the state

regulation must “be narrowly drawn to prevent the supposed evil,” Louisiana ex rel. Gremillion

v. NAACP, 366 U.S. 293, 297 (1961) (internal quotation marks omitted) (quoting Cantwell v.

Connecticut, 310 U.S. 296, 307 (1940)).

     112.      The statute and enabling regulations presume to determine who “is eligible or

ineligible for employment or presence at the residential care facility.” § 210.493.10, RSMo,

based upon the results of invasive background checks.

     113.      A residential care facility is defined under the statute as “any place, facility, or

home operated by any person who receives children who are not related to the operator and

whose parent or guardian is not a resident of the same facility and that provides such children




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with supervision, care, lodging, and maintenance for twenty-four hours a day, with or without

transfer of custody.” § 210.1253(6), RSMo.

     114.      The statute and enabling regulations require these invasive background checks

and the Defendant presumes to tell the ministries who is eligible and ineligible to be its “officers;

managers; . . . employees; other support staff; owners of . . . LERCFs that will have access to the

facilities . . .” 13 CSR 35-71.015(1)(A) 1; Cf. § 210.493.2, RSMo, which also includes

contractors.

     115.      In turn, “Officers” is defined as “any individual who holds an executive position

with the LERCF . . . , including, but not limited to: Chairperson of the Board, President,

Director, Vice President, Secretary, General Counsel, Headmaster, Principal, Head Teacher,

Treasurer or any other individual listed as an officer of the LERCF . . .” 13 CSR 35-71.015(1)(A)

1.

     116.      “Support staff” or “staff” is defined to “. . . include any individual who works for

or performs services, including professional services, for the LERCF . . . whether compensated

or not. Staff can be employees and employees can be staff.” 13 CSR 35-71.015(1)(L).

     117.      Actual access to children is required only for “. . . contractors with unsupervised

access to children; volunteers with unsupervised access to children; . . . and owners of LERCF

. . . that will have access to children.” 13 CSR 35-71.015(1)(A) 1. The term “Contractors” is not

defined in the statute or the regulations, however § 210.493.2, RSMo requires background

checks on all contractors, whereas the enabling regulations incongruously requires background

checks only on “. . . contractors with unsupervised access to children . . .” 13 CSR 35-

71.015(1)(A) 1.




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      118.     “Volunteer” is likewise defined. A “volunteer” is interpreted to “include any

individual who performs a service for or on behalf of the LERCF . . . of their own free will

without obligation, or without any expectation of reward or compensation.” 13 CSR 35-

71.015(1)(A). The distinction between a “volunteer” (who need only comply with the

background check requirements if they are “volunteers with unsupervised access to children”)

and an individual who is classified as “Support staff” or “staff” who is uncompensated (who

need to comply with the background check requirements even if there is no contact with

children) is incapable of discernment.

       119.    The Department’s regulations restrict the freedom of CNSIMI to form an

expressive association of those who share a common commitment to education, addiction

recovery and religious faith.

       120.    Defendant violates the federal constitutional rights of the members of CNSIMI,

including its students and their families, faculty and staff, to associate, as guaranteed by the First

Amendment to the U.S. Constitution.

       121.    Defendant violates Plaintiff’s right to freedom of association by requiring

disclosure of those in recovery programs and by barring the presence of those (regardless of

whether they have any contact with children at CNSIMI) who have background checks that

reveal histories which may or may not have anything to do with child abuse or endangerment.

                                            COUNT III

                                      Procedural Due Process

       122.    Plaintiff repeats and re-alleges each of the foregoing allegations in this Complaint.

       123.    As more specifically described herein, the statutory scheme that set forth does not

afford due process to Plaintiff or others engaged in the activities of Plaintiff’s association.




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       124.    The new statute and enabling regulations do not provide the procedural due

process required by the 14th Amendment to the U.S. Constitution, in that property and liberty

interests are violated without first providing notice and a hearing.

       125.    Removal of a child from Heartland is unconstitutional without first providing

notice and a hearing unless there is reasonable cause to believe that such a particular child being

removed is “in imminent danger of suffering serious physical harm, threat to life from abuse or

neglect, or has been sexually abused or is in imminent danger of sexual abuse.” Heartland

Academy Community Church v. Waddle, 317 F. Supp. 2d 984, 1111 (E.D. Mo. 2004), aff’d,

Heartland Academy Community Church v. Waddle, 427 F.3d 525 (8th Cir. 2005).

       126.    No removal of children or other members of the Heartland association can

constitutionally occur without the Defendant passing the strict scrutiny test, which requires

Defendant to demonstrate a compelling state interest in removing each particular child from

Heartland and showing that even if such a compelling interest exists, there is not a narrower

means of achieving it. Missouri’s statutory scheme ignores these requirements.

       127.    Plaintiff and its members have protected property and liberty interests in

maintaining the residence of its members at Heartland and avoiding their forced removal.

       128.    The statute and enabling regulations presume to determine who “is eligible or

ineligible for employment or presence at the residential care facility.” § 210.493.10, RSMo,

based upon the results of invasive background checks, which includes, most prominently,

whether their names are found in any state registries for abuse and neglect. Under the statute and

enabling regulations, individuals are ineligible to remain at Heartland even if their names have

been placed on a central registry merely on the basis of probable cause or reasonable suspicion,

regardless of whether they obtained a due process hearing and regardless of whether they had de




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novo appeal rights in a court of law, all of which is contrary to the 14th Amendment to the U.S.

Constitution. Jamison v. Dept. of Soc. Servs., 218 S.W.3d 399 (Mo. 2007).

       129.    Plaintiff and its members are constitutionally entitled to a meaningful hearing and

notice of that hearing before any removal may take place.

       130.    Missouri’s statutory scheme authorizes the deprivation of these property and

liberty interests without adequate due process because it does not guarantee full and fair hearings

conducted pre-deprivation for Plaintiff or its members.

       131.    Absent declaratory and injunctive relief against application and enforcement of

this new statute and enabling regulations, Plaintiff will suffer irreparable harm.

                                            COUNT IV

                                          Parental Rights

       132.    Plaintiff repeats and re-alleges each of the foregoing allegations in this Complaint.

       133.    Entities engaged in conducting religious schools are protected by the Due Process

Clause of the Fourteenth Amendment from a government’s unwarranted interference with the

rights of parents, and the rights of the school selected by the parents, to direct the upbringing and

education of the parents’ children.

       134.    The new law deprives students’ parents of a fair opportunity to procure for their

children instruction that they think is important and that they have selected at least in part for

religious reasons.

       135.    The Fourteenth Amendment protects Plaintiff from the deprivation of its and its

members’ property and liberty rights without due process of law.

       136.    The right to conduct schools in a certain manner is a right under Pierce v. Society

of Sisters, 268 U.S. 510 (1925). Parents and guardians, as a part of their liberty, may direct the




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education of their children, including religious education, by selecting where their children will

be brought up and educated, and under Pierce Heartland has standing to assert those rights.

       137.    The new statute and enabling regulations conflict with these rights, threatening

Heartland with removals and ceased operations.

       138.    Defendant has violated and continues to violate the federal constitutional rights of

Plaintiff, including its students and their parents, to be free from interference with the rights of

parents, guardians and families to direct the upbringing and education of their children, under the

U.S. Constitution.

       139.    Absent declaratory and injunctive relief against application and enforcement of

the new statute and enabling regulations, Plaintiff will suffer irreparable harm.

                                             COUNT V

                           The Hosanna-Tabor Ministerial Exception

       140.    Plaintiff repeats and re-alleges each of the foregoing allegations in this Complaint.

       141.    The new statute and enabling regulations violate Plaintiff’s freedom and

autonomy under the Religion Clauses of the First Amendment to the United States Constitution.

       142.    The Free Exercise and the Establishment Clauses together vest in churches and

other religious organizations the autonomy to order their own affairs, to decide for themselves,

free from governmental interference, matters of ecclesiastical government, doctrine, the

communication of that doctrine and the internal administration of their institution.

       143.    Plaintiff’s teachers of religion, among other employees, are sources of religious

instruction to students and are an essential part of transmitting religious faith to the next

generation.

       144.    The new statute and enabling regulations contain no exception for the




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employment of ministerial employees, including teachers, house parents and the many other

employees of Heartland who promote its message, as required by Hosanna-Tabor Evangelical

Lutheran Church and School v. EEOC, 565 U.S. 171 (2012).

       145.    The statute and enabling regulations presume to determine who “is eligible or

ineligible for employment or presence at the residential care facility.” § 210.493.10, RSMo,

based upon the results of invasive background checks.

       146.    A residential care facility is defined under the statute as “any place, facility, or

home operated by any person who receives children who are not related to the operator and

whose parent or guardian is not a resident of the same facility and that provides such children

with supervision, care, lodging, and maintenance for twenty-four hours a day, with or without

transfer of custody.” § 210.1253(6), RSMo.

       147.    The statute and enabling regulations require these invasive background checks

and the Defendant presumes to tell the ministries who is eligible and ineligible to be its “officers;

managers; . . . employees; other support staff; owners of . . . LERCFs that will have access to the

facilities . . .” 13 CSR 35-71.015(1)(A) 1; Cf. § 210.493.2, RSMo, which also includes

contractors.

       148.    In turn, “Officers” is defined as “any individual who holds an executive position

with the LERCF . . . , including, but not limited to: Chairperson of the Board, President,

Director, Vice President, Secretary, General Counsel, Headmaster, Principal, Head Teacher,

Treasurer or any other individual listed as an officer of the LERCF . . .” 13 CSR 35-71.015(1)(A)

1.




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       149.    “Support staff” or “staff” is defined to “. . . include any individual who works for

or performs services, including professional services, for the LERCF . . . whether compensated

or not. Staff can be employees and employees can be staff.” 13 CSR 35-71.015(1)(L).

       150.    Actual access to children is required only for “. . . contractors with unsupervised

access to children; volunteers with unsupervised access to children; . . . and owners of LERCF

. . . that will have access to children.” 13 CSR 35-71.015(1)(A) 1. The term “Contractors” is not

defined in the statute or the regulations, however § 210.493.2, RSMo requires background

checks on all contractors, whereas the enabling regulations incongruously requires background

checks only on “. . . contractors with unsupervised access to children . . .” 13 CSR 35-

71.015(1)(A) 1.

       151.    “Volunteer” is likewise defined. A “volunteer” is interpreted to “include any

individual who performs a service for or on behalf of the LERCF . . . of their own free will

without obligation, or without any expectation of reward or compensation.” 13 CSR 35-

71.015(1)(A). The distinction between a “volunteer” (who need only comply with the

background check requirements if they are “volunteers with unsupervised access to children”)

and an individual who is classified as “Support staff” or “staff” who is uncompensated (who

need to comply with the background check requirements even if there is no contact with

children) is incapable of discernment.

       152.    Defendant has violated, and continues to violate, Plaintiff’s freedom and

autonomy under the Free Exercise and Establishment Clauses.

       153.    Absent declaratory and injunctive relief against application and enforcement of

the new statute and enabling regulations, Plaintiff will suffer irreparable harm.




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                                            COUNT VI

                                    Illegal Search and Seizure

       154.     Plaintiff repeats and re-alleges each of the foregoing allegations in this Complaint.

       155.     Defendant promises, under the new statute and enabling regulations, to deprive

Plaintiff and its members of certain constitutionally protected rights under the Fourth

Amendment to the Constitution of the United States including the right to be free from

warrantless and unreasonable searches and seizures.

       156.     Absent declaratory and injunctive relief against application and enforcement of

the new statute and enabling regulations, Plaintiff will suffer irreparable harm.

                                         Prayer for Relief

       WHEREFORE, Plaintiff prays for the following relief:

              a) A declaratory judgment stating that:

                1)    It is unlawful for Defendant to remove or seek the removal of any person,

                      including children, residing at Heartland, without first providing Heartland

                      and the person subject to removal and his or her custodial parent or legal

                      guardian with meaningful notice and an opportunity to be heard, unless such

                      person is in imminent danger of serious bodily injury or death, or has been

                      sexually abused or is in imminent danger of sexual abuse. In failing to meet

                      this Constitutional threshold, § 210.143(2)-(5), RSMo, § 210.1268, RSMo

                      and § 210.1271(1)-(4), RSMo are invalid absent pre-deprivation notice and

                      a meaningful opportunity to be heard;

                2)    It is unlawful for Defendant to remove or seek the removal (whether through

                      “ineligibility” or otherwise) of any person from Heartland without first




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                demonstrating a compelling state interest in removing the particular person

                and demonstrating that there is no less restrictive means of achieving the

                compelling state interest;

           3)   It is unlawful for Section 210.493(2), RSMo to require “any person eighteen

                years of age or older who resides at or on the property” of CNS International

                Ministries, Inc., to complete a background check or otherwise disclose their

                identity without, at a minimum, first meeting the requirements imposed by

                42 USC § 290dd-2 and 42 CFR Part 2 as regards each participant (past or

                present) in alcohol and drug recovery programs;

           4)   Section 210.1283 RSMo’s Class B misdemeanor penalty is invalid as

                applied to any participant in CNS International Ministries, Inc.’s alcohol and

                drug abuse programs’ (past or present) refusal to submit to invasive

                background checks, as violative of 42 USC § 290dd-2 and 42 CFR Part 2;

           5)   It is unlawful for Defendant, or anyone acting in concert with the Defendant,

                to seek or require the disclosure of a full census and demographic

                information at the residential care facility, of any person eighteen years of

                age or older who resides at or on the property of the residential care facility

                pursuant to § 210.1264 RSMo, without, at a minimum, first meeting the

                requirements imposed by 42 USC § 290dd-2 and 42 CFR Part 2 regarding

                each participant in CNS International Ministry, Inc.’s alcohol and drug

                recovery programs;

           6)   It is unlawful for Section 210.493.10, RSMo to condition a participant’s

                “eligibility” or “ineligibility” for “presence at” CNS International




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                Ministries, Inc.’s alcohol and drug abuse programs based upon disclosure of

                their identity and the outcome of invasive background checks, as violative

                of 42 USC § 290dd-2 and 42 CFR Part 2;

           7)   It is unlawful to require CNS International Ministries, Inc. to refrain from

                receiving children (Section 210.1259.1, RSMo), face injunctions to cease

                operations or suffer the removal of children (Section 210.1271.1.(3)) based

                upon its refusal to violate 42 USC § 290dd-2 and 42 CFR Part 2 regarding

                each participant in CNS International Ministry, Inc.’s alcohol and drug

                recovery programs;

           8)   It is unlawful for Defendant to interfere with and dictate CNS International

                Ministries, Inc.’s choice in officers, staffing, and contractors, including, but

                not limited to its Chairperson of the Board, President, Directors, Vice

                Presidents, Secretary, General Counsel, Headmaster, Principal, Head

                Teacher, Treasurer or any other Officers, Managers, or Staff or Support

                Staff, including the providers of professional services (including attorneys

                and accountants);

           9)   It is unlawful for Defendant, or anyone acting in concert with the Defendant,

                to condition CNS International Ministries, Inc.’s ability to receive children

                under § 210.1259, RSMo upon its refusal to exclude individuals from its

                employment and premises based upon constitutionally and statutorily

                prohibited criteria;

           10) It is unlawful for the Defendant, or anyone acting in concert with the

                Defendant, to require the acquisition and access to all medical records of the




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                child residents of the facility pursuant to § 210.1262(8), RSMo, for no

                reason other than “to verify that medical records are being kept” and solely

                based upon a “reasonable basis to believe” that the medical records are not

                maintained;

           11) It is unlawful for the Defendant, or anyone acting in concert with the

                Defendant, to demand a census list, demographics information and the

                related information regarding officers, managers, contractors, volunteers

                with access to children, employees, and other support staff of the facility,

                any person eighteen years of age or older who resides at or on the property

                of the residential care facility and any person who has unsupervised contact

                with a resident of the residential care facility pursuant to § 210.1264, RSMo;

                and

           12) It is unlawful for the Defendant, or anyone acting in concert with the

                Defendant, to condition an individual’s presence at CNS International

                Ministries, Inc.’s premises on undergoing background checks and criminally

                penalize individuals for failure to undergo background checks pursuant to §

                210.1283, RSMo.

       b) Injunctive relief forbidding Defendant, her employees, agents and successors in

           office from enforcing any statute or regulation to the extent the Court declares such

           statutes or regulations to be unlawful as requested above;

       c) Attorney fees and other expenses as provided by 42 U.S.C. § 1988;

       d) Costs as provided by law; and

       e) Such other and further relief as the Court deems appropriate.




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                                   Respectfully submitted,

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